Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 1 of 91




            EXHIBIT 1
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                                                            D-1-GN-21-006932                                 District Clerk
                                                     NO. __________________                                 Travis County
                                                                                                         D-1-GN-21-006932
         THE STATE OF TEXAS                                              §
                                                                             53RD, DISTRICT COURT        Victoria Benavides
         Plaintiff                                                       §
                                                                         §
                                                                         §
         v.
                                                                         §
                                                                         §     DISTRICT COURT
         Bureau of Consular Affairs;                                     §     TRAVIS COUNTY, TEXAS
         Dba. Ian G. Brownlee dba Principal Deputy Assistant Secretary
                                                                         §
         Social Security Administration;                                 §
         Dba. Mr Miller dba Supervisor;                                  §
         Internal Revenue Service;                                       §
         Dba. Tonya Williams-Wallace dba Operations Manager, AM OPs 1;   §
         Defendant(s)                                                    §


                                                   WRIT OF QUO WARRANTO

       COMES HERE NOW, Jo Ali TR, 1st lienholder estate beneficial owner of the spiritual religious’ McGee,

Joanthony Dba. JOANTHONY LANARD MCGEE (hereinafter Relator), who claim his Country by Treaty, Authenticated

THE PUBLIC STATUTES AT LARGE OF THE UNITED STATES OF AMERICA from March 1933 to June 1934, Volume

XLVIII, pages 484 through 487, TREATY WITH MOROCCO, September 16, 1836 (hereinafter Treaty), attached and

incorporated herein by reference as Exhibit 1; is Moor/America’s Aborginal national and not an United States

Citizen or United States National, who REQUEST an issuance of WRIT OF QUO WARRANTO for Attorney General; As

believed, the Bureau of Consular Affairs; Principal Deputy Assistant Secretary; Social Security Administration; Dba.

Mr Miller dba Supervisor; Internal Revenue Service; and Dba. Tonya Williams-Wallace dba Operations Manager, AM

OPs 1 actions were unlawful; and does or omits an act that requires a surrender or causes a forfeiture of its rights

and privileges as a corporation; and if a public officer does an act or allows an act that by law causes a forfeiture of

his office; are grounds of official misconduct and/or incompetency for remedy, to wit;

The Bureau of Consular Affairs; Principal Deputy Assistant Secretary; actions as evident, by acceptance of Postal

Money Order 2565812166 and Certified Mail 7013 1090 0000 1939 7157 sent by Certified Mail 7013 1090 000

1938 7140 and failed to return the Department of State Authentication Certificate of AUTHENTICATED BOND

RE326052391US No. 11683354 (hereinafter Bond); attached and incorporated herein by reference as Exhibit 2;

and failed to return the Department of State Certificate of Non Citizen Nationality; only delineate(d) and certify(ed)

in an United States passport (hereinafter Passport); as evidently accepted by UNITED STATES DEPARTMENT OF
 ‌
                        Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 4 of 91

STATE‌ ‌RECEIPT‌ ‌FOR‌ ‌PASSPORT‌ ‌SERVICES‌ ‌RECEIPT‌ ‌NUMBER:‌ ‌DA0071573124‌ ‌AND‌ ‌UNITED‌ ‌STATES‌‌

DEPARTMENT‌‌OF‌‌STATE‌‌PASSPORT‌‌WILL‌‌CALL‌‌PICKUP‌‌RECEIPT‌‌for‌‌APPLICANT:‌‌MCGEE,‌‌APPLICATION‌‌NUMBER:‌‌

551967033,‌ ‌BORN‌ ‌ON:‌ ‌SEP‌ ‌06,‌ ‌1970,‌‌..WILL‌‌BE‌‌READY‌‌ON‌‌FRI.‌‌NOV‌‌1‌‌2019‌‌1:30PM;‌‌attached‌‌and‌‌incorporated‌‌

herein‌‌by‌‌reference‌‌as‌‌Exhibit‌‌3;‌‌And‌‌ ‌

The‌ ‌Social‌ ‌Security‌ ‌Administration;‌ ‌Dba.‌ ‌Mr‌ ‌Miller‌ ‌dba‌ ‌Supervisor;‌ ‌actions‌ ‌accordingly‌‌to‌‌Public‌‌policy,‌‌failed‌‌to‌‌

amend‌‌and/or‌‌addendum‌‌social‌‌security‌‌account‌‌number‌‌XXX-XX-XXXX‌‌per‌‌request‌‌via‌‌United‌‌States‌‌Postal‌‌Office‌

Certified‌ ‌Mail‌ ‌7018‌ ‌1130‌ ‌0002‌ ‌3208‌ ‌9656‌ ‌and‌ ‌Domestic‌ ‌Return‌ ‌Receipt‌ ‌9590‌ ‌9402‌ ‌4972‌ ‌9063‌ ‌6527‌ ‌79‌‌

(hereinafter‌N
             ‌ OTICE‌),‌‌attached‌‌and‌‌incorporated‌‌herein‌‌by‌‌reference‌‌as‌‌Exhibit‌‌4;‌‌And‌‌ ‌

The‌ ‌Internal‌ ‌Revenue‌ ‌Service;‌ ‌Dba.‌ ‌Tonya‌ ‌Williams-Wallace‌ ‌dba‌ ‌Operations‌ ‌Manager,‌ ‌AM‌ ‌OPs‌ ‌1;‌ ‌issued‌ ‌Notice:‌‌

CPZ1C;‌ ‌dated‌ ‌August‌ ‌30,‌ ‌2021;‌ ‌attached‌ ‌and‌ ‌incorporated‌ ‌herein‌‌by‌‌reference‌‌as‌‌Exhibit‌‌5;‌‌had‌‌previously‌‌been‌‌

contested,‌‌multiple‌‌times;‌‌And‌‌all‌‌actions,‌‌respectively,‌‌injured‌‌Joanthony‌‌McGee;‌‌And‌‌by‌‌‌Treaty‌‌Art.‌‌4.‌‌&‌‌7,‌‌page(s)‌‌

7‌ ‌and‌ ‌8,‌ ‌respectively;‌ ‌that‌ ‌this‌ ‌court,‌ ‌order‌ ‌its‌ ‌agents;‌ ‌to‌ ‌amend‌ ‌and/or‌ ‌addendum‌ ‌and‌ ‌exempt‌ ‌Social‌‌Security;‌‌

Taxpayer‌ ‌ID‌ ‌number‌ ‌XXX-XX-XXXX‌ ‌and‌ ‌remove/offset‌ ‌lien‌ ‌heretofore‌ ‌and‌ ‌hereafter;‌ ‌throughout‌ ‌the‌ ‌Public‌‌

databases;‌‌and‌‌order‌‌the‌‌Department‌‌of‌‌State‌‌to‌‌issue‌‌‌Passport‌;‌‌and‌‌return‌‌‌Bond‌;‌‌And‌‌provisions‌‌or‌‌other‌‌supplies‌

shall‌ ‌be‌ ‌furnished‌ ‌without‌‌any‌‌interruption‌‌or‌‌molestation;‌‌And‌‌injury‌‌done,‌‌offending‌‌party,‌‌shall‌‌make‌‌good‌‌all‌‌

damages;‌ ‌And‌ ‌therefore,‌ ‌grant‌ ‌monetary‌ ‌damages‌‌(B
                                                           ‌ ond‌,‌‌page‌‌18)‌‌of‌‌US$900,000.00‌‌each,‌‌for‌‌injuries‌‌caused‌‌by‌‌

Social‌‌Security‌‌Administration;‌‌Bureau‌‌of‌‌Consular‌‌Affairs;‌‌and‌‌Internal‌‌Revenue‌‌Service,‌‌permitted‌‌to‌‌and‌‌in‌‌name‌‌

of‌‌relator;‌‌And‌‌send‌‌to:‌‌JO‌‌ALI‌‌TR,‌‌in‌‌care‌‌of‌‌3839‌‌MCKINNEY‌‌AVENUE,‌‌155-2205,‌‌DALLAS,‌‌TEXAS,‌‌USA,‌‌today;‌‌as‌‌

Relator’s‌‌interest,‌‌honorably,‌‌aim‌‌for‌‌honorable‌‌commerce.‌ ‌

Wherefore‌ ‌premises‌ ‌considered,‌ ‌the‌ ‌Relator‌ ‌submits‌ ‌a‌ ‌bond‌ ‌and‌ ‌prays‌‌that‌‌Defendant(s)‌‌be‌‌cited‌‌to‌‌appear‌‌and‌‌

answer,‌ ‌and‌ ‌that‌ ‌upon‌ ‌final‌ ‌trial‌ ‌or‌ ‌other‌ ‌resolution‌ ‌hereof,‌ ‌judgment‌ ‌be‌ ‌entered‌ ‌awarding‌ ‌TEXAS‌ ‌it’s‌ ‌costs‌ ‌of‌‌

prosecution,‌‌and‌‌awarding‌‌TEXAS‌‌such‌‌other‌‌relief‌‌to‌‌which‌‌it‌‌may‌‌be‌‌justly‌‌entitled.‌‌ ‌

Respectfully‌‌submitted,‌ ‌
 ‌
By‌ ‌/s/‌‌jo‌‌Ali‌ ‌
 ‌
JO‌‌ALI‌‌TR‌ ‌
℅‌‌3839‌‌MCKINNEY‌‌AVENUE‌ ‌
155-2205‌ ‌
DALLAS,‌‌TEXAS,‌‌USA‌ ‌
JOALITRUST@GMAIL.COM‌ ‌
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                 Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 5 of 91

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    Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 13 of 91

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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 16 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 17 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 18 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 19 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 20 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 21 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 22 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 23 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 24 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 25 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 26 of 91



                                                               EXHIBIT A-26
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 27 of 91


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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 28 of 91



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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 29 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 30 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 31 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 32 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 33 of 91


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                Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 35 of 91

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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 39 of 91

                         Exhibit 5

                       Notice: CPZ1C
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 40 of 91
              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 41 of 91

                         Automated Certificate of eService
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Status as of 11/26/2021 8:01 PM CST

Associated Case Party: Dba. Tonya Williams-Wallace dba Operations Manager, AM
OPs 1

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Dba. Mr Miller dba Supervisor

Name                BarNumber    Email                     TimestampSubmitted   Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   11/22/2021 4:32:14 PM SENT



Case Contacts

Name                BarNumber    Email                     TimestampSubmitted   Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   11/22/2021 4:32:14 PM SENT



Associated Case Party: Bureau of Consular Affairs

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Internal Revenue Service

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Dba. Ian G. Brownlee dba Principal Deputy Assistant
Secretary

Name
              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 42 of 91

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Secretary

Jennifer Lowery            USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 43 of 91
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                                                                    Velva L. Price
                 D-1-GN-21-006932                                   District Clerk
                                                                   Travis County
                                                                D-1-GN-21-006932
                                                                Victoria Benavides
              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 44 of 91

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Associated Case Party: Dba. Mr Miller dba Supervisor

Name                BarNumber    Email                     TimestampSubmitted   Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   11/22/2021 4:32:14 PM SENT



Case Contacts

Name                BarNumber    Email                     TimestampSubmitted   Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   11/22/2021 4:32:14 PM SENT



Associated Case Party: Dba. Tonya Williams-Wallace dba Operations Manager, AM
OPs 1

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Bureau of Consular Affairs

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Internal Revenue Service

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Dba. Ian G. Brownlee dba Principal Deputy Assistant
Secretary

Name
              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 45 of 91

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Associated Case Party: Dba. Ian G. Brownlee dba Principal Deputy Assistant
Secretary

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          Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 46 of 91
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                                             NOTICE



JO ALI TR
c/o 3839 MCKINNEY AVENUE
155-2205
DALLAS, TEXAS, USA
JOALITRUST@GMAIL.COM

November 27, 2021

OFFICE OF THE ATTORNEY GENERAL
P.O. BOX 12548
AUSTIN, TEXAS 78711-2548

Please be advised, this notice is to the Attorney General of this case # D-1-GN-21-006932; as it
is believed; An action in the nature of quo warranto is available if: (5) a corporation exercises
power not granted by law; and grounds for the remedy exist for Official Misconduct and/or
Incompetency.

       Quo warranto is an ancient prerogative writ through which the State acts to protect itself
       and the good of the public generally through its chosen agents as provided by its
       constitution and laws, though sometimes it is brought at the instance of and for the
       benefit of a private individual who may have a special interest. Texas courts have held
       that mandamus is not a proper remedy when quo warranto is available.
       In injunction cases, also, quo warranto is held to be the exclusive remedy to challenge
       the authority of a public officer. The same rule is applied when a declaratory judgment is
       sought.” Lewis v. Drake, 641 S.W.2d 392, 394 (Tex. App. - Dallas 1982, no writ) [Internal
       citations omitted]

LET IT BE KNOWN for prosecution, also, the relator, submits a bond.

Respectfully submitted,

By /s/ jo Ali
JO ALI TR, RELATOR
                     Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 47 of 91
                                                                                                        11/22/2021 4:32 PM
                                                                                                             Velva L. Price
                                                            D-1-GN-21-006932                                 District Clerk
                                                     NO. __________________                                 Travis County
                                                                                                         D-1-GN-21-006932
         THE STATE OF TEXAS                                              §
                                                                             53RD, DISTRICT COURT        Victoria Benavides
         Plaintiff                                                       §
                                                                         §
                                                                         §
         v.
                                                                         §
                                                                         §     DISTRICT COURT
         Bureau of Consular Affairs;                                     §     TRAVIS COUNTY, TEXAS
         Dba. Ian G. Brownlee dba Principal Deputy Assistant Secretary
                                                                         §
         Social Security Administration;                                 §
         Dba. Mr Miller dba Supervisor;                                  §
         Internal Revenue Service;                                       §
         Dba. Tonya Williams-Wallace dba Operations Manager, AM OPs 1;   §
         Defendant(s)                                                    §


                                                   WRIT OF QUO WARRANTO

       COMES HERE NOW, Jo Ali TR, 1st lienholder estate beneficial owner of the spiritual religious’ McGee,

Joanthony Dba. JOANTHONY LANARD MCGEE (hereinafter Relator), who claim his Country by Treaty, Authenticated

THE PUBLIC STATUTES AT LARGE OF THE UNITED STATES OF AMERICA from March 1933 to June 1934, Volume

XLVIII, pages 484 through 487, TREATY WITH MOROCCO, September 16, 1836 (hereinafter Treaty), attached and

incorporated herein by reference as Exhibit 1; is Moor/America’s Aborginal national and not an United States

Citizen or United States National, who REQUEST an issuance of WRIT OF QUO WARRANTO for Attorney General; As

believed, the Bureau of Consular Affairs; Principal Deputy Assistant Secretary; Social Security Administration; Dba.

Mr Miller dba Supervisor; Internal Revenue Service; and Dba. Tonya Williams-Wallace dba Operations Manager, AM

OPs 1 actions were unlawful; and does or omits an act that requires a surrender or causes a forfeiture of its rights

and privileges as a corporation; and if a public officer does an act or allows an act that by law causes a forfeiture of

his office; are grounds of official misconduct and/or incompetency for remedy, to wit;

The Bureau of Consular Affairs; Principal Deputy Assistant Secretary; actions as evident, by acceptance of Postal

Money Order 2565812166 and Certified Mail 7013 1090 0000 1939 7157 sent by Certified Mail 7013 1090 000

1938 7140 and failed to return the Department of State Authentication Certificate of AUTHENTICATED BOND

RE326052391US No. 11683354 (hereinafter Bond); attached and incorporated herein by reference as Exhibit 2;

and failed to return the Department of State Certificate of Non Citizen Nationality; only delineate(d) and certify(ed)

in an United States passport (hereinafter Passport); as evidently accepted by UNITED STATES DEPARTMENT OF
 ‌
                       Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 48 of 91

STATE‌ ‌RECEIPT‌ ‌FOR‌ ‌PASSPORT‌ ‌SERVICES‌ ‌RECEIPT‌ ‌NUMBER:‌ ‌DA0071573124‌ ‌AND‌ ‌UNITED‌ ‌STATES‌‌

DEPARTMENT‌‌OF‌‌STATE‌‌PASSPORT‌‌WILL‌‌CALL‌‌PICKUP‌‌RECEIPT‌‌for‌‌APPLICANT:‌‌MCGEE,‌‌APPLICATION‌‌NUMBER:‌‌

551967033,‌ ‌BORN‌ ‌ON:‌ ‌SEP‌ ‌06,‌ ‌1970,‌‌..WILL‌‌BE‌‌READY‌‌ON‌‌FRI.‌‌NOV‌‌1‌‌2019‌‌1:30PM;‌‌attached‌‌and‌‌incorporated‌‌

herein‌‌by‌‌reference‌‌as‌‌Exhibit‌‌3;‌‌And‌‌ ‌

The‌ ‌Social‌ ‌Security‌ ‌Administration;‌ ‌Dba.‌ ‌Mr‌ ‌Miller‌ ‌dba‌ ‌Supervisor;‌ ‌actions‌ ‌accordingly‌‌to‌‌Public‌‌policy,‌‌failed‌‌to‌‌

amend‌‌and/or‌‌addendum‌‌social‌‌security‌‌account‌‌number‌‌XXX-XX-XXXX‌‌per‌‌request‌‌via‌‌United‌‌States‌‌Postal‌‌Office‌

Certified‌ ‌Mail‌ ‌7018‌ ‌1130‌ ‌0002‌ ‌3208‌ ‌9656‌ ‌and‌ ‌Domestic‌ ‌Return‌ ‌Receipt‌ ‌9590‌ ‌9402‌ ‌4972‌ ‌9063‌ ‌6527‌ ‌79‌‌

(hereinafter‌N
             ‌ OTICE‌),‌‌attached‌‌and‌‌incorporated‌‌herein‌‌by‌‌reference‌‌as‌‌Exhibit‌‌4;‌‌And‌‌ ‌

The‌ ‌Internal‌ ‌Revenue‌ ‌Service;‌ ‌Dba.‌ ‌Tonya‌ ‌Williams-Wallace‌ ‌dba‌ ‌Operations‌ ‌Manager,‌ ‌AM‌ ‌OPs‌ ‌1;‌ ‌issued‌ ‌Notice:‌‌

CPZ1C;‌ ‌dated‌ ‌August‌ ‌30,‌ ‌2021;‌ ‌attached‌ ‌and‌ ‌incorporated‌ ‌herein‌‌by‌‌reference‌‌as‌‌Exhibit‌‌5;‌‌had‌‌previously‌‌been‌‌

contested,‌‌multiple‌‌times;‌‌And‌‌all‌‌actions,‌‌respectively,‌‌injured‌‌Joanthony‌‌McGee;‌‌And‌‌by‌‌‌Treaty‌‌Art.‌‌4.‌‌&‌‌7,‌‌page(s)‌‌

7‌ ‌and‌ ‌8,‌ ‌respectively;‌ ‌that‌ ‌this‌ ‌court,‌ ‌order‌ ‌its‌ ‌agents;‌ ‌to‌ ‌amend‌ ‌and/or‌ ‌addendum‌ ‌and‌ ‌exempt‌ ‌Social‌‌Security;‌‌

Taxpayer‌ ‌ID‌ ‌number‌ ‌XXX-XX-XXXX‌ ‌and‌ ‌remove/offset‌ ‌lien‌ ‌heretofore‌ ‌and‌ ‌hereafter;‌ ‌throughout‌ ‌the‌ ‌Public‌‌

databases;‌‌and‌‌order‌‌the‌‌Department‌‌of‌‌State‌‌to‌‌issue‌‌‌Passport‌;‌‌and‌‌return‌‌‌Bond‌;‌‌And‌‌provisions‌‌or‌‌other‌‌supplies‌

shall‌ ‌be‌ ‌furnished‌ ‌without‌‌any‌‌interruption‌‌or‌‌molestation;‌‌And‌‌injury‌‌done,‌‌offending‌‌party,‌‌shall‌‌make‌‌good‌‌all‌‌

damages;‌ ‌And‌ ‌therefore,‌ ‌grant‌ ‌monetary‌ ‌damages‌‌(B
                                                           ‌ ond‌,‌‌page‌‌18)‌‌of‌‌US$900,000.00‌‌each,‌‌for‌‌injuries‌‌caused‌‌by‌‌

Social‌‌Security‌‌Administration;‌‌Bureau‌‌of‌‌Consular‌‌Affairs;‌‌and‌‌Internal‌‌Revenue‌‌Service,‌‌permitted‌‌to‌‌and‌‌in‌‌name‌‌

of‌‌relator;‌‌And‌‌send‌‌to:‌‌JO‌‌ALI‌‌TR,‌‌in‌‌care‌‌of‌‌3839‌‌MCKINNEY‌‌AVENUE,‌‌155-2205,‌‌DALLAS,‌‌TEXAS,‌‌USA,‌‌today;‌‌as‌‌

Relator’s‌‌interest,‌‌honorably,‌‌aim‌‌for‌‌honorable‌‌commerce.‌ ‌

Wherefore‌ ‌premises‌ ‌considered,‌ ‌the‌ ‌Relator‌ ‌submits‌ ‌a‌ ‌bond‌ ‌and‌ ‌prays‌‌that‌‌Defendant(s)‌‌be‌‌cited‌‌to‌‌appear‌‌and‌‌

answer,‌ ‌and‌ ‌that‌ ‌upon‌ ‌final‌ ‌trial‌ ‌or‌ ‌other‌ ‌resolution‌ ‌hereof,‌ ‌judgment‌ ‌be‌ ‌entered‌ ‌awarding‌ ‌TEXAS‌ ‌it’s‌ ‌costs‌ ‌of‌‌

prosecution,‌‌and‌‌awarding‌‌TEXAS‌‌such‌‌other‌‌relief‌‌to‌‌which‌‌it‌‌may‌‌be‌‌justly‌‌entitled.‌‌ ‌

Respectfully‌‌submitted,‌ ‌
 ‌
By‌ ‌/s/‌‌jo‌‌Ali‌ ‌
 ‌
JO‌‌ALI‌‌TR‌ ‌
℅‌‌3839‌‌MCKINNEY‌‌AVENUE‌ ‌
155-2205‌ ‌
DALLAS,‌‌TEXAS,‌‌USA‌ ‌
JOALITRUST@GMAIL.COM‌ ‌
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                 Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 49 of 91

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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 53 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 54 of 91
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    Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 57 of 91

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NOTICE: THIS DOCUMENT
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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 65 of 91
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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 67 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 68 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 69 of 91
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 70 of 91



                                                               EXHIBIT A-26
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 71 of 91


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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 72 of 91



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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 73 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 74 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 75 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 76 of 91




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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 77 of 91


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                Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 79 of 91

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Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 83 of 91

                         Exhibit 5

                       Notice: CPZ1C
Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 84 of 91
              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 85 of 91

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Status as of 11/26/2021 8:01 PM CST

Associated Case Party: Dba. Tonya Williams-Wallace dba Operations Manager, AM
OPs 1

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Dba. Mr Miller dba Supervisor

Name                BarNumber    Email                     TimestampSubmitted   Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   11/22/2021 4:32:14 PM SENT



Case Contacts

Name                BarNumber    Email                     TimestampSubmitted   Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   11/22/2021 4:32:14 PM SENT



Associated Case Party: Bureau of Consular Affairs

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Internal Revenue Service

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT



Associated Case Party: Dba. Ian G. Brownlee dba Principal Deputy Assistant
Secretary

Name
              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 86 of 91

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Secretary

Jennifer Lowery            USATXS.CivilNotice@usdoj.gov 11/22/2021 4:32:14 PM   SENT
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                                                               12/3/2021 3:57 PM
                                                                   Velva L. Price
                                                                   District Clerk
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                                                               D-1-GN-21-006932
                                                                 Jessica A. Limon
              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 89 of 91

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Envelope ID: 59700594
Status as of 12/4/2021 11:13 AM CST

Associated Case Party: DBA MR MILLER

Name                BarNumber    Email                     TimestampSubmitted Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   12/3/2021 3:57:46 PM   SENT



Associated Case Party: Dba. Tonya Williams-Wallace dba Operations Manager, AM
OPs 1

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 12/3/2021 3:57:46 PM    SENT



Associated Case Party: BUREAU OF CONSULAR AFFAIRS

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 12/3/2021 3:57:46 PM    SENT



Associated Case Party: INTERNAL REVENUE SERVICE

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 12/3/2021 3:57:46 PM    SENT



Associated Case Party: DBA IAN G BROWNLEE

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 12/3/2021 3:57:46 PM    SENT
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              Case 1:21-cv-01114 Document 1-1 Filed 12/08/21 Page 91 of 91

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on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.




Envelope ID: 59700594
Status as of 12/4/2021 11:13 AM CST

Associated Case Party: DBA MR MILLER

Name                BarNumber    Email                     TimestampSubmitted Status

Jennifer BLowery                 ogc.dallas.sdtx@ssa.gov   12/3/2021 3:57:46 PM   SENT



Associated Case Party: Dba. Tonya Williams-Wallace dba Operations Manager, AM
OPs 1

Name               BarNumber Email                             TimestampSubmitted    Status

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Associated Case Party: BUREAU OF CONSULAR AFFAIRS

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 12/3/2021 3:57:46 PM    SENT



Associated Case Party: INTERNAL REVENUE SERVICE

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 12/3/2021 3:57:46 PM    SENT



Associated Case Party: DBA IAN G BROWNLEE

Name               BarNumber Email                             TimestampSubmitted    Status

Jennifer Lowery                 USATXS.CivilNotice@usdoj.gov 12/3/2021 3:57:46 PM    SENT
